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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF KENTUCKY
                            LOUISVILLE DIVISION



THE HONORABLE ORDER OF                     )
KENTUCKY COLONELS, INC.                    )
                                           )
      PLAINTIFF                            )
                                           )
                                           )
v.                                         )   CIVIL ACTION NO. 3:20CV-132-RGJ
                                           )
COL. DAVID J. WRIGHT                       )
                                           )                PROPOSED
      DEFENDANT                            )                 ORDER 1
                                           )
                                           )


                                         ORDER

      This action is before the Court on the Defendant’s Motion for Judgment on the

Pleadings [DN ___] and supporting Memorandum in Support [DN ___] filed pursuant to Rule

12(c) of the Federal Rules of Civil Procedure. Upon consideration, the Court finds that the

Defendant’s motion should be GRANTED and that this action shall be DISMISSED.

       The Court considered and read the above-numbered cause of Defendant's Motion for

Judgement on the Pleadings and the accompanying Memorandum of Support to Defendant’s

Motion for Judgement on the Pleadings seeking dismissal with prejudice or a judicially

fashioned equitable judgement. Considering the Defendant has effectively closed his business

“Kentucky Colonels International”, abandoned the associated descriptive website domains, is

not currently using the Plaintiff’s trademarks, that there is not enough evidence to prove
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infringement of the Plaintiff’s trademarks at this time and Defendant has expressed in

good-faith to the Court that he has no intentions of commercializing products or services using

the Plaintiff’s trademarks now or in the future this action shall be DISMISSED without

prejudice. Regarding Defendants in default per Order [DE 60] Kentucky Colonels International

(defunct); Globcal International; Ecology Crossroads Cooperative Foundation, Inc; and the

remaining Defendant, Col. David Wright pro se (collectively “Defendants”) are all relieved

from the Plaintiff’s request for injunctive and monetary relief pursuant to 15 U.S. Code § 1111.

Each party will bear their own costs with no award of damages withstanding this Order.

       IT IS FURTHER ORDERED, ADJUDGED and DECREED that Plaintiff’s claims

against Defendants, as well as any claims that Defendants may assert or affirm against Plaintiff

alleged in this case, are DISMISSED without prejudice and that all costs shall be borne by the

party incurring same.

       As the Court intends for this Order of Dismissal Without Prejudice to be a final

judgment, any relief not expressly granted herein is hereby DENIED.



SO ORDERED:

SIGNED this _____ day of October, 2020.




                             ___________________________________
                             JUDGE REBECCA GRADY JENNINGS
                             U.S. DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
